         Case 3:15-cr-00072-RCJ-VPC            Document 175       Filed 02/17/17     Page 1 of 2



 1

 2

 3

 4                               UNITED STATES DISTRICT COURT

 5                                        DISTRICT OF NEVADA

 6
     UNITED STATES OF AMERICA,                          )
 7                                                      )
                            Plaintiff,                  )
 8                                                      )        3:15-cr-00072-RCJ-VPC-4
            vs.                                         )
 9                                                      )
     OLIVER NOLASCO-CRUZ et al.,                        )                ORDER
10                                                      )
                            Defendants.                 )
11                                                      )

12          Defendant Oliver Nolasco-Cruz pled guilty to the single count against him in the

13   Superseding Information for conspiracy to possess heroin with intent to distribute. On May 10,

14   2016, the Court sentenced Defendant to 57 months imprisonment, to be followed by four years of

15   supervised release. Defendant appealed his sentence but voluntarily dismissed his appeal before

16   briefing. Based on the transcript of the sentencing hearing, Defendant presumably intended to

17   appeal the application of a two-level enhancement for maintaining a premise for the purpose of

18   illegal drug distribution under U.S.S.G. § 2D1.1(b)(12). Defendant explicitly disclaimed any

19   other objections to the pre-sentence report.

20          Defendant has asked the Court to reduce his sentence under Amendment 782 to the U.S.

21   Sentencing Guidelines, which reduced the base offense levels for given quantities of drugs.1

22   Defendant was found to have been responsible for 804 grams of heroin. That quantity of heroin

23
            1
24            The Court subsequently appointed the Federal Public Defender to represent Defendant as
     to the motion and gave counsel until January 12, 2017 to file an appropriate motion. Counsel has
25   filed a motion to withdraw, noting no basis for such a motion.
         Case 3:15-cr-00072-RCJ-VPC           Document 175        Filed 02/17/17     Page 2 of 2



 1   results in a base offense level of 28 under Amendment 782’s adjustment to the drug quantity

 2   tables. See U.S.S.G. § 2D1.1(c)(6) (2014). Amendment 782 went into effect on November 1,

 3   2014 when the Guidelines version of that date was issued, but the Amendment may be applied

 4   retroactively to reduce sentences pronounced before November 1, 2014. Retroactive application

 5   of the Amendment is not an issue here, however, because Defendant was sentenced after it went

 6   into effect. The record makes clear that Defendant was subjected to a base offense level of 28,

 7   which was correct. See U.S.S.G. § 2D1.1(c)(6) (2015).

 8                                           CONCLUSION

 9          IT IS HEREBY ORDERED that the Motion for a Sentence Reduction (ECF No. 157) is

10   DENIED.

11          IT IS FURTHER ORDERED that the Motion to Withdraw (ECF No. 169) is GRANTED.

12          IT IS SO ORDERED.
     DATED: This 17th day of February, 2017.
13   Dated this 6th day of January, 2017.

14

15                                                ___________________________________
                                                           ROBERT C. JONES
16                                                       United States District Judge

17

18

19

20

21

22

23

24

25                                             Page 2 of 2
